           Case 2:07-cr-00122-WBS Document 141 Filed 03/05/09 Page 1 of 2


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 4
 5   Attorney for Defendant
     MAXSIM KARASENI
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      CR. NO. S-07-122 EJG
                                     )
13                   Plaintiff,      )      Amended ORDER
                                     )      TO CONTINUE JUDGEMENT AND
14        v.                         )      SENTENCING
                                     )
15                                   )      DATE:      April 24, 2009
     MAKSIM KARASENI                 )      TIME:      10:00 a.m.
16                                   )      COURT:     Hon. Edward J. Garcia
                     Defendant.      )
17                                   )
     _______________________________ )
18                                   )
                                     )
19                                   )
                                     )
20
          Defendants, MAKSIM KARASENI, through his attorney of record, Dina
21
     Santos, and VYACHESLAV ROTAR, through his attorney Joseph Welch, and
22
     the United States of America, through Assistant U.S. Attorney Todd
23
     Leras, agree as follows:
24
          It is hereby stipulated that the Judgement and Sentencing
25
     currently set for March 6, 2009, be vacated and a date be scheduled on
26
     April 24, 2009 at 10:00 a.m.
27
28
           Case 2:07-cr-00122-WBS Document 141 Filed 03/05/09 Page 2 of 2


 1        All counsel have consulted and have agreed to the new date and
 2   have consulted with United States Probation Officer Scott Storey.       All
 3   counsel have authorized Ms. Santos to sign on their behalf.
 4                                            Respectfully submitted,
 5
 6   Dated: March 4, 2009                     /S/ Dina L. Santos
                                              DINA L. SANTOS
 7                                            Attorney for Defendant
                                              MAKSIM KARASENI
 8
 9
     Dated: March 4, 2009                     /S/ Joseph Welch
10                                            JOSEPH WELCH
                                              Attorney for Defendant
11                                            VYACHESLAV ROTAR
12   DATED: March 4, 2009                     /S/ Todd Leras
                                              TODD LERAS
13                                            Assistant U.S. Attorney
                                              Attorney for Plaintiff
14
15
16
17
18
19                                    ORDER
20   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the date for Judgement and
21   Sentencing currently set for March 6, 2009, be vacated and a new date be
22   scheduled on April 24, 2009 at 10:00 a.m.
23
24   DATED: March 4, 2009                     /s/ Edward J. Garcia
25                                            EDWARD J. GARCIA
                                              United States District Court Judge
26
27
28                                            2
